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      BERKSHIRE HATHAWAY
8
      DIRECT INSURANCE COMPANY
9

10                       UNITED STATES DISTRICT COURT
11         CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
12    BERKSHIRE HATHAWAY DIRECT              Case No.
      INSURANCE COMPANY, a
13
      Nebraska corporation,                  COMPLAINT FOR
14                                           DECLARATORY RELIEF AND
15
                        Plaintiff,           REIMBURSEMENT AND JURY
                                             DEMAND
16    v.
17
      LDR VENTURES PARTNERS,
18    LLC, a California Limited Liability
19
      Company,

20                      Defendant.
21

22          Plaintiff BERKSHIRE HATHAWAY DIRECT INSURANCE
23    COMPANY (“BHDIC”) alleges as follows:
24                              NATURE OF THE CASE
25          1.    LDR VENTURES PARTNERS, LLC (“LDR”) contracted in
26    August 2018 with ROCK CENTRAL SERVICES, INC. d/b/a IT’S EASY,
27    INC. (“It’s Easy”) to create a new website and mobile application by April
28    2019 for It’s Easy’s passport and visa services business. It’s Easy alleges
                   COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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1     LDR did not deliver a commercially usable website or mobile application in
2     that time frame or ever. It’s Easy alleges that after paying nearly $300,000
3     and a long delay, LDR’s web site was seriously deficient and unusable. It’s
4     Easy cancelled its web site launch and instituted arbitration against LDR.
5           2.    Prior to June 8, 2020, LDR did not have professional liability
6     insurance. After the long delay in the project completion and during testing
7     of the web site, on June 8, 2020, LDR purchased an insurance policy from
8     BHDIC. LDR seeks to have the BHDIC policy cover this breach of contract
9     claim. However, It’s Easy’s claim is not covered under the BHDIC policy.
10    First, a professional services claim involving an “occurrence” prior to the
11    policy period would only be covered if there had been previous continuous
12    professional liability coverage, which there was not. Second, there was no
13    “occurrence” (i.e., accident) and/or the “occurrence(s)” started or took
14    place prior to the BHDIC policy’s inception. Furthermore, the BHDIC policy
15    does not cover claims for breach of contract. BHDIC seeks a declaration,
16    order, and judgment that BHDIC does not owe a duty to indemnify or
17    defend LDR.
18          3.    BHDIC brings this lawsuit because the policy is designed to be
19    customer-friendly. BHDIC condensed hundreds of pages of standard
20    industry language into a simple, plain-language, three-page form. The
21    claim against LDR is clearly outside the scope of coverage based on the
22    plain language of this three-page policy form. It is necessary to litigate
23    what should be obvious from this unprecedently simple policy. There is no
24    coverage for the claim against LDR.
25                                      PARTIES
26          4.    Plaintiff Berkshire Hathaway Direct Insurance Company is
27    incorporated under the laws of the State of Nebraska with its principal
28    place of business in Omaha, Nebraska.

                  COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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1           5.    Defendant LDR Ventures Partners, LLC is a Limited Liability
2     Company under the laws of the State of California with its principal place
3     of business in Los Angeles County, California.
4                                   JURISDICTION
5           6.    This Court has jurisdiction over this matter pursuant to 28
6     U.S.C. § 1332 because there is complete diversity among plaintiff and
7     defendant and the amount in controversy exceeds $75,000, exclusive of
8     interest and costs.
9           7.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b),
10    because this is the judicial district in which defendant LDR conducts
11    business and where the insurance policy was issued.
12          8.    Pursuant to 28 U.S.C. § 2201(a) and Federal Rules of Civil
13    Procedure 57, this Court has the authority to adjudicate the matters at
14    issue and enter its judgment declaring the rights of the parties to the
15    action.
16                            FACTUAL BACKGROUND
17    LDR – It’s Easy Dispute
18          9.    It’s Easy alleges that in late July 2018 or early August 2018,
19    It’s Easy engaged LDR, a marketing and consulting business, to redesign
20    It’s Easy’s website and develop a mobile application for It’s Easy’s
21    passport and visa services business (the “Project”).
22          10.   It’s Easy alleges LDR represented it would complete this
23    Project in less than nine months, i.e., by April 2019.
24          11.   It’s Easy alleges on August 23, 2018, the operative contract
25    was entered into between LDR and It’s Easy (the “Agreement”). The
26    Agreement contemplated that the Project was to be conducted in two
27    phases, with the scope of services and deliverables for each of the two
28    phases specified in a statement of work incorporated into the Agreement.

                  COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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1     The first phase of the Project was set forth in an initial marketing
2     consulting agreement dated August 2, 2018. The second phase of the
3     Project, the “execution phase,” was set out in the Agreement. The two
4     phases of the Project were to take 270 days to complete.
5           12.   It’s Easy alleges between August 2018 and April 2019, It’s
6     Easy paid LDR nearly $300,000 in fees and expenses to perform work
7     under the Agreement.
8           13.   It’s Easy alleges LDR did not deliver by April 2019 a usable
9     website rebuild or mobile website application. It’s Easy alleges LDR did
10    not even commence the “execution phase” of the Project until after the
11    270-day deadline to complete the Project. Thus, prior to purchasing the
12    BHDIC policy, It’s Easy alleges LDR was already in breach.
13          14.   In or before June 2020, testing was performed on the web site
14    and It’s Easy advised LDR about errors during testing of the website.
15          15.   On or before June 11, 2020, It’s Easy advised LDR about
16    concern about the handling and execution of the Project.
17          16.   These problems culminated on June 16, 2020 with It’s Easy’s
18    conclusion that “we have a system that is not only a train-wreck in more
19    ways than one, but does not even work in a manner that is fully usable to
20    anyone with a computer.” At that point, It’s Easy alleges it cancelled its
21    already delayed website launch.
22          17.   It’s Easy alleges LDR failed to properly manage and timely
23    perform services required under the Agreement, including the goal to have
24    a web site fully optimized before launch. It’s Easy alleges LDR’s
25    programming and work product were seriously deficient.
26          18.   On August 17, 2020, LDR was provided with notice of It’s
27    Easy’s demand for arbitration in connection with LDR’s alleged breach of
28    the Agreement.

                   COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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1           19.   In It’s Easy’s Statement of Claim filed on October 1, 2020 in
2     the arbitration proceedings, It’s Easy alleges LDR’s failure to provide a
3     commercially usable website rebuild and mobile application was a breach
4     of the Agreement. It’s Easy alleges causes of action for breach of contract,
5     unjust enrichment, and seeks not less than $750,000 in damages, as well
6     as attorney’s fees and costs.
7     BHDIC Policy
8           20.   Even though LDR had been in business since 2017, LDR did
9     not have a professional liability insurance policy prior to purchasing the
10    BHDIC policy.
11          21.   BHDIC created its “THREE” Insurance Policy to change the
12    way small businesses buy insurance. In particular, the main form of the
13    Policy is only three pages long, compared to dozens or even hundreds of
14    pages in standard insurance policy forms. The THREE form was designed
15    to be clear and concise, and while the form is very short compared to most
16    policies, the basis for the lack of coverage on the subject claim is
17    conspicuously set out in the brief three-page form.
18          22.   BHDIC issued its “THREE Insurance Policy” (three-page
19    policy) no. 140121049 to LDR Ventures Partners, LLC, effective June 8,
20    2020 to June 8, 2021 (“Policy”). As is relevant to this dispute, the Policy
21    includes coverage for Business Liability with a Limit of Liability of $1 million
22    for any one liability occurrence and $3 million for any and all liability
23    occurrences, subject to a $1,000 deductible.
24          23.   The Policy provides, in relevant part, that:
25
                  I. The coverage we provide your business under this
26                   policy:
27
                  This policy only covers your business for loss caused by
28                occurrences during the policy period. An “occurrence”
                   COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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1                means an accident, including continuous or repeated
                 exposure to substantially the same general harmful
2                conditions that begin during the policy period.
3                “Occurrence” also includes an error or omission by your
                 business. Should any part of this policy, on its effective
4                date, conflict with the laws of the state where your
5                business is based, then that part of this policy will be
                 automatically amended to meet the minimum
6                requirements of those laws.
7                ...

8                For your business’ liability to others: We cover your
9                business for amounts it is legally required to pay others
                 as the result of an occurrence. We will provide legal
10               counsel to defend any such claims. When listed
11               Additional Insureds or employees of your business act on
                 its behalf, they are also covered.
12

13               We also cover (i) claims of negligence, errors, or
                 omissions in providing professional services, and (ii)
14               claims against directors or officers of your business
15               arising from their actions taken on behalf of your
                 business. For these kinds of claims, if your business first
16               learns about the claim during this policy, and previously
17               had continuous insurance coverage that would have
                 covered the claim, we will cover that claim even though it
18               is not the result of an occurrence during this policy.
19

20         24.   The Policy further provides:
21
                 II. What we do not cover:
22

23               We do not cover any occurrence(s) that start or take
                 place outside the policy period on the Summary. To be
24               covered by any of this policy’s Coverages, the damage,
25               liability, or injury must be caused by or arise from an
                 occurrence during the policy period on the Summary. For
26               any claims that we do not cover, we will not provide legal
27               counsel to defend those claims.
                 ...
28

                  COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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1                For liability claims, we do not cover claims based on (i)
                 damage or occurrences that were expected or intended
2                (in other words, it was not accidental); (ii) a contract; (iii)
3                warranty claims, or (iv) any promise of financial
                 performance or return.
4

5          25.   In addition, the Policy provides that:
6
                 V. What your business needs to do:
7
                 You expect us to be fair in meeting your business’ needs.
8
                 For us to best meet our responsibilities under this policy,
9                we need your business to meet certain requirements as
                 well. First, we need openness and honesty about all the
10
                 information provided to us in connection with this policy.
11               We will rely upon that information to give a premium
                 estimate, and we also use it to protect ourselves in the
12
                 event of fraud or efforts to abuse our policy and the
13               promises we make in it.
14
                 Second, we need your business to report to us as quickly
15               as possible about anything that could give rise to claims,
                 and cooperate with our requests. We ask that your
16
                 business take all reasonable steps to protect itself and its
17               property after a loss. Your business must file a police
                 report following a theft. If you have any questions or
18
                 concerns, the earlier you report to us, the faster we can
19               act to cover your business. We may need to ask
                 additional questions to process claims, and your business
20
                 must answer those promptly and truthfully. After your
21               business reports a claim to us, we will promptly
                 investigate, and will promptly pay claims when liability has
22
                 become clear and your business has provided us with
23               proof of loss. Your business cannot give up claims it
24
                 might have against others for the losses covered by this
                 policy without our permission.
25

26
                 Third, keep us updated. If any of the information given to
                 us changes, such as adding a new property to the
27               business, let us know so that we can keep our records up
28
                 to date. Some information we may seek to confirm in any

                  COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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1                   event. For example, after this policy expires, we will likely
                    ask for confirmation of payroll so we can confirm workers’
2                   compensation data. For this and any other information
3                   requests relating to this insurance, we will be relying on
                    your business to provide accurate information. These
4                   requests may include audits of books or physical
5                   inspection of your business’operations. We will also use
                    the information to adjust the premium (up or down) so it
6                   accurately reflects your business’ risks. All premium for
7                   this policy will be determined by our manuals of rules,
                    rates, rating plans and classifications. We may change
8                   our manuals and apply the changes to this policy if
9                   authorized by law or a governmental agency regulating
                    this insurance.
10

11                  If your business does not meet its obligations to us,
                    your business may lose some or all coverage under
12                  this policy.
13

14            26.   The Policy further provides under “If Something Goes Wrong”
15    that: “For liability claims, we will have the right to decide how to prepare for
16    and defend any potential claim, and to decide if a claim should be settled.”
17    Tender and Denial
18            27.   On or about August 18, 2020, LDR tendered It’s Easy’s claim
19    to BHDIC under the Policy.
20            28.   BHDIC reserved rights and requested information about the
21    dispute.
22            29.   Based on its investigation and the claims being made by It’s
23    Easy, BHDIC concluded there was no coverage afforded by the Policy for
24    It’s Easy’s claim against LDR, and denied the claim on September 24,
25    2020.
26            30.   LDR requested reconsideration. BHDIC, after further
27    considering LDR’s arguments and additional information provided, again
28    concluded on November 11, 2020 that It’s Easy’s claim was not covered.

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1     Nonetheless, BHDIC agreed to provide It’s Easy with a defense, pursuant
2     to a full reservation of rights.
3                               FIRST CAUSE OF ACTION
4     (Declaratory Relief – No Coverage for Professional Liability Based on
5                          Occurrence Prior to Policy Period)
6           31.    BHDIC re-alleges and incorporates by reference the
7     allegations set forth in paragraphs 1 through 30 of this Complaint as
8     though fully set forth here.
9           32.    The Policy provides coverage for liabilities faced by a
10    business, including claims of “negligence, errors, or omissions in providing
11    professional services.” The Policy provides that “we will cover that claim
12    even though it is not the result of an occurrence during this policy.”
13    However, the Policy provides for that claim to be covered, the insured
14    must have “previously had continuous insurance coverage that would have
15    covered the claim.”
16          33.    It’s Easy alleges LDR did not provide the professional services
17    set forth in the Agreement. It’s Easy alleges LDR’s failure to provide those
18    professional services started in at least April 2019 when the website was
19    not completed according to the schedule, when the “execution phase” was
20    not started until after April 2019, and when product testing failed. It’s Easy
21    alleges it intended to launch its web site months prior to when it was able
22    to do so, and that it shut down the web site in June 2020 when the web
23    site still did not function as it was supposed to perform.
24          34.    It’s Easy’s claim is based on an occurrence or occurrence(s)
25    (errors and omissions in the performance of the Agreement) that started or
26    took place prior to the inception date of the Policy.
27          35.    LDR first presented It’s Easy’s claim to BHDIC in August 2020,
28    during the policy period of the Policy.

                   COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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1            36.   LDR confirmed it did not have insurance coverage for this type
2      of claim prior to June 8, 2020 when LDR purchased the BHDIC Policy.
3            37.    Therefore, BHDIC concluded It’s Easy’s claim against LDR is
4      not covered under the professional services coverage in the Policy.
5            38.   LDR disagrees with BHDIC.
6            39.   An actual controversy exists between BHDIC and LDR
7      regarding the parties’ respective rights, duties, and obligations (if any)
8      under the Policy and applicable law.
9            40.   BHDIC seeks a judicial declaration, order, and judgment that
10     the Policy does not provide coverage for It’s Easy’s claim against LDR.
11     Such judicial determination is necessary and proper in order that all parties
12     included in this lawsuit are bound by the same interpretation of the Policy.
13           Wherefore, BHDIC prays for the relief set forth below.
14                             SECOND CAUSE OF ACTION
15      (Declaratory Relief – No Coverage for “Occurrence(s)” or Breach of
16                                       Contract)
17           41.   BHDIC re-alleges and incorporates by reference the
18     allegations set forth in paragraphs 1 through 30 of this Complaint as
19     though fully set forth here.
20           42.   The Policy provides coverage for “loss caused by occurrences
21     during the policy period.” The Policy provides that: “To be covered . . . the
22     damage, liability, or injury must be caused by or arise from an occurrence
23     during the policy period . . .”
24           43.   “Occurrence” is defined in the Policy as “an accident, including
25     continuous or repeated exposure to substantially the same harmful
26     conditions that begin during the policy period.” “Occurrence” also “includes
27     an error or omission by your business.”
28     ///

                    COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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1            44.    The Policy provides that it does not cover “any occurrence(s)
2      that start or take place outside the policy period . . .”
3            45.    In addition, the Policy does not cover claims “based on []
4      damage or occurrences that were expected or intended (in other words,
5      not accidental) . . .”
6            46.    Further, the Policy does “not cover claims based on . . . a
7      contract . . .”
8            47.    It’s Easy alleges LDR failed to perform under the Agreement
9      when, in April 2019, LDR did not deliver the website. It’s Easy further
10     alleges LDR failed to perform the Agreement by not commencing work on
11     the web site until after April 2019. It’s Easy further alleges testing showed
12     the web site did not work. It’s Easy alleges LDR failed to deliver a website
13     and app that functioned as was promised.
14           48.    LDR’s failure to perform obligations under the Agreement as
15     alleged by It’s Easy is not an “accident” as that term is defined under
16     California law.
17           49.    LDR’s failure to perform obligations under the Agreement as
18     alleged by It’s Easy started and took place prior to the inception date (June
19     8, 2020) of the Policy.
20           50.    In addition, It’s Easy’s a claim is one for failure-to-deliver the
21     contracted-for product and services and, thus, all “based on a contract.”
22           51.    BHDIC contends the Policy does not cover It’s Easy’s claim
23     because there is no “occurrence” and/or the “occurrence(s)” first started
24     and took place prior to the policy period of the Policy.
25           52.    BHDIC further contends that there is no coverage because It’s
26     Easy’s claim is based on a contract.
27           53.    LDR disagrees with BHDIC’s position.
28     ///

                     COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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1            54.   An actual controversy exists between BHDIC and LDR
2      regarding the parties’ respective rights, duties, and obligations (if any)
3      under the Policy and applicable law.
4            55.   BHDIC seeks a judicial declaration, order, and judgment that
5      there is no coverage afforded by the Policy because there was no
6      “occurrence” and/or because the “occurrence(s)” started or took place
7      prior to the policy period and/or because the claim against LDR is based
8      on a contract. Such judicial determination is necessary and proper in order
9      that all parties are bound by the same interpretation of the Policy.
10           Wherefore, BHDIC prays for the relief set forth below.
11                             THIRD CAUSE OF ACTION
12                      (Declaratory Relief – No Duty to Defend)
13           56.   BHDIC re-alleges and incorporates by reference the
14     allegations set forth in paragraphs 1 through 55 of this Complaint as
15     though fully set forth here.
16           57.   The Policy provides that BHDIC will defend the insured against
17     claims potentially covered by the Policy. The Policy also provides that “[f]or
18     any claims that we do not cover, we will not provide legal counsel to
19     defend those claims.”
20           58.   Under California law, there is only a duty to defend if the claim
21     against the insured is potentially covered by the policy; if the claim cannot
22     be covered by the policy, there is no duty to defend.
23           59.   It’s Easy’s claim against LDR cannot be covered by the BHDIC
24     Policy because, to the extent it is a claim for “negligence, errors, or
25     omissions in providing professional services,” LDR did not “previously
26     [have] continuous insurance coverage that would have covered the claim.”
27     ///
28     ///

                    COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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1            60.    Further (or alternatively), It’s Easy’s claim against LDR cannot
2      be covered by the Policy because the allegations against LDR are not
3      based on an accident.
4            61.    Further (or alternatively), It’s Easy’s claim against LDR cannot
5      be covered by the Policy because (if there was any “occurrence”), the
6      Policy does not cover “occurrence(s) that start or take place outside the
7      policy period . . .”
8            62.    Further (or alternatively), It’s Easy’s claim against LDR cannot
9      be covered because It’s Easy’s claim is based on a contract.
10           63.    BHDIC agreed to defend It’s Easy under a full reservation of
11     rights, but BHDIC contends it owes no duty to defend LDR against It’s
12     Easy’s claim in arbitration.
13           64.    LDR disagrees with BHDIC’s position.
14           65.    An actual controversy exists between BHDIC and LDR
15     regarding the parties’ respective rights, duties, and obligations (if any)
16     under the Policy and applicable law.
17           66.    BHDIC seeks a judicial declaration, order, and judgment that
18     there is no duty to defend LDR against It’s Easy’s claim. Such judicial
19     determination is necessary and proper in order that all parties are bound
20     by the same interpretation of the Policy.
21           Wherefore, BHDIC prays for the relief set forth below.
22                            FOURTH CAUSE OF ACTION
23                                    (Reimbursement)
24           67.    BHDIC re-alleges and incorporates by reference the
25     allegations set forth in paragraphs 1 through 66 of this Complaint as
26     though fully set forth here.
27     ///
28     ///

                     COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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1            68.   BHDIC is defending LDR in the arbitration under a full
2      reservation of rights, including the right to be reimbursed for any amounts
3      paid as defense fees and costs.
4            69.   BHDIC has no duty to defend; therefore, LDR is receiving a
5      benefit (defense fees and costs) that BHDIC had no obligation to pay.
6            70.   BHDIC has an equitable and quasi-contractual right to be
7      reimbursed by LDR for the defense fees and costs BHDIC pays on behalf
8      of LDR.
9            71.   BHDIC seeks a judicial declaration, order, and judgment that
10     LDR reimburse LDR for defense fees and costs paid by BHDIC, and
11     interest thereon, in an amount according to proof at trial.
12           Wherefore, BHDIC prays for the relief set forth below.
13                               PRAYER FOR RELIEF
14           WHEREFORE, BHDIC prays for entry of judgment and relief as
15     follows:
16           1.    A declaration, order, and judgment that BHDIC does not owe
17     any duty to indemnify LDR against It’s Easy’s claim;
18           2.    A declaration, order, and judgment that BHDIC does not owe
19     any duty to defend LDR against It’s Easy’s claim;
20           3.    A declaration, order, and judgment that LDR reimburse BHDIC
21     for all amounts BHDIC has paid as defense fees and costs in defending
22     LDR, in an amount according to proof at trial;
23           4.    For pre-judgment interest;
24           5.    For costs of suit; and
25     ///
26     ///
27     ///
28     ///

                   COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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1           6.    For such other relief as this Court deems just and proper.
2      Dated: January 4, 2021               NICOLAIDES FINK THORPE
3                                           MICHAELIDES SULLIVAN LLP

4                                        By:       /s/ Sara M. Thorpe
                                                      Sara M. Thorpe
5                                           Attorney for BERKSHIRE
6                                           HATHAWAY DIRECT INSURANCE
                                            COMPANY
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                   COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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1                            DEMAND FOR JURY TRIAL
2           BHDIC hereby demands a trial by jury in this action.
3      Dated: January 4, 2021               NICOLAIDES FINK THORPE
4                                           MICHAELIDES SULLIVAN LLP

5                                        By:       /s/ Sara M. Thorpe
                                                      Sara M. Thorpe
6                                           Attorney for BERKSHIRE
7                                           HATHAWAY DIRECT INSURANCE
                                            COMPANY
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                   COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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